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  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10

 11       JAIME R. S.,1                              Case No. EDCV 20-01053 AB (RAO)
 12                         Plaintiff,
 13            v.                                    ORDER ACCEPTING REPORT
                                                     AND RECOMMENDATION OF
 14       ANDREW SAUL,                               UNITED STATES MAGISTRATE
                                                     JUDGE
 15                         Defendant.
 16

 17           Pursuant to 28 U.S.C. § 636, the Court has reviewed the complaint, all of the
 18   other records and files herein, and the Report and Recommendation of United States
 19   Magistrate Judge (“Report”). The time for filing objections to the Report has passed,
 20   and no objections have been filed. The Court hereby accepts and adopts the findings,
 21   conclusions, and recommendations of the Magistrate Judge.
 22           IT IS ORDERED that the action is dismissed without prejudice.
 23

 24   DATED: October 15, 2020                   ___________________________________
                                                ANDRÉ BIROTTE JR.
 25                                             UNITED STATES DISTRICT JUDGE
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 27   1
        Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and the
      recommendation of the Committee on Court Administration and Case Management of the Judicial
 28   Conference of the United States.
